Case 2:14-cv-11916-GCS-SDD ECF No. 30-1, PagelD.593 Filed 03/31/15 Page 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
NATALIE REESER,
Case No.: 2:14-cv-11916-GCS-MJH
Plaintiff,
Hon. George Caram Steeh
Vv.
HENRY FORD HOSPITAL,
Defendant.
/
MILLER COHEN, P.L.C. VARNUM LLP
Keith D. Flynn (P74192) Terrance J. Miglio (P30541)
Attorney for Plaintiff Barbara E. Buchanan (P55084)
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PLAINTIFF’S MOTION, AND BRIEF IN SUPPORT, TO ENFORCE
SUBPOENA, EXTEND DISCOVERY FOR THE SOLE PURPOSE OF
TAKING JILL HOOD’S DEPOSITION, AND TO COMPEL HER
ATTENDANCE AT THAT DEPOSITION

INDEX OF EXHIBITS
EXHIBIT A: Defendant’s Initial Disclosures
EXHIBIT B: Email dtd December 4, 2014, re Deposition Dates

EXHIBIT C: Email dtd January 26, 2015, re Reeser
Case 2:14-cv-11916-GCS-SDD ECF No. 30-1, PagelD.594 Filed 03/31/15 Page 2 of 3

EXHIBIT D:

EXHIBIT E:

EXHIBIT F:

EXHIBIT G:

EXHIBIT H:

EXHIBIT I:

EXHIBIT J:

EXHIBIT K:

EXHIBIT L:

EXHIBIT M:

EXHIBIT N:

EXHIBIT O:

EXHIBIT P:

EXHIBIT OQ:

EXHIBIT R:

EXHIBIT S:

EXHIBIT T:

Email dtd February 18, 2015, re Reeser v HFHS

Ltr dtd March 4, 2015,

enclosing Deposition Notice of Jill Hood & Subpoena

Ltr dtd March 13, 2015,
enclosing Deposition Re-Notice of Jill Hood

Email dtd March 25, 2015, 10:21am, re Reeser
Email dtd March 25, 2015, 12:23pm, re Reeser

Email dtd March 26, 2015, 11:56am, re Reeser
enclosing Stipulated Order re Hood

Email dtd March 27, 2015, 9:31am, re Reeser
Email dtd March 27, 2015, 10:11am, re Reeser
Email dtd March 27, 2015, 10:39am, re Reeser

Email dtd March 27, 2015, 1:36pm, re Reeser
enclosing Stipulated Order re Hood

Email dtd March 27, 2015, 2:20pm, re Reeser
Email dtd March 27, 2015, 2:15pm, re Reeser
Email dtd March 27, 2015, 2:44pm, re Reeser
Email dtd March 27, 2015, 2:43pm, re Reeser
Email dtd March 27, 2015, 3:33pm, re Reeser

Email dtd March 27, 2015, 4:02pm, re Reeser
enclosing Stipulated Order re Hood

Email Chains dtd March 27, 2015, and March 30, 2015, re Reeser
Case 2:14-cv-11916-GCS-SDD ECF No. 30-1, PagelD.595 Filed 03/31/15 Page 3 of 3

EXHIBIT U: Ltr dtd March 30, 2015,
enclosing 2" Re-Notice of Deposition of Jill Hood and copy of
original Subpoena

EXHIBIT V: Watkins v. New Albany Plain Local Sch.
